        Case 2:24-cv-03307-OEM-LGD Document 7 Filed 05/03/24 Page 1 of 2 PageID #: 178

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                     Eastern District
                                                   __________         of of
                                                               District  New  York
                                                                            __________

                       MEGO2 CORP.,                                 )
                                                                    )
                                                                    )
                                                                    )
                            Plaintiff(s)                            )
                                                                    )
                                v.                                          Civil Action No. 24-CV-3307-OEM-LGD
                                                                    )
                     D1SRUPT1VE INC.,                               )
                                                                    )
                                                                    )
                                                                    )
                           Defendant(s)                             )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) D1SRUPT1VE INC.
                                           2780 Las Vegas Boulevard South
                                           Las Vegas, Nevada 89109




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Michael J. Del Piano
                                           LEWIS JOHS AVALLONE AVILES, LLP
                                           1377 Motor Parkway, Suite 400
                                           Islandia, New York 11749
                                           (631) 755-0101
                                           mjdelpiano@lewisjohs.com

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                               %5(11$%0$+21(<
                                                                              CLERK OF COURT


Date:             05/03/2024
                                                                                         Signature off Cl
                                                                                         Si            Clerkk or D
                                                                                                                 Deputy Clerk
         Case 2:24-cv-03307-OEM-LGD Document 7 Filed 05/03/24 Page 2 of 2 PageID #: 179

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 Civil Action No. 24-CV-3307-OEM-LGD

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
